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                                AFFIDAVIT IN SUPPORT OF
                                 A CRIMINAL COMPLAINT

       I, Matthew Gano, being first duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and have
been so employed since 2017. I am assisting in the investigation and prosecution of events which
occurred at the United States Capitol on January 6, 2021.

        The facts in this affidavit come from my personal observations, my training and experience,
and information obtained from other agents and witnesses. This Affidavit is being submitted for
the sole purpose of establishing probable cause that on January 6, 2021, YVONNE ST CYR (“ST
CYR”) violated 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G), as set
forth below. This affidavit, therefore, does not contain every fact known to me regarding this
investigation.

                                        BACKGROUND

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        With the joint session underway and with Vice President Pence presiding, a large crowd
gathered outside the U.S. Capitol. Temporary and permanent barricades surround the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside. At approximately 2:00 p.m.,
certain individuals in the crowd forced their way through, up, and over the barricades and officers
of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the building. At such
time, the joint session was still underway, and the exterior doors and windows of the U.S. Capitol
were locked or otherwise secured. Members of the U.S. Capitol Police attempted to maintain order
and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m., individuals in the
crowd forced entry into the U.S. Capitol, including by breaking windows. Shortly thereafter, at
approximately 2:20 p.m. members of the United States House of Representatives and United States
Senate, including the President of the Senate, Vice President Pence, were instructed to—and did—
evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the United
States Capitol from the time he was evacuated from the Senate Chamber until the session resumed.
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                                      PROBABLE CAUSE

        Based on information I have reviewed, I estimate that between 2:00 p.m., and no later than
4:00 p.m., the defendant, Yvonne St Cyr, entered the United States Capitol without authorization
to do so. The defendant live-streamed video which was later posted to Facebook and widely
circulated on other social media platforms and picked up by national news outlets documenting
the riots. In the live-streamed video, St Cyr filmed the destruction of an office window from within
the Capitol and continued to record herself standing in the window and shouting at the crowd
located on the west side of the Capitol grounds. The defendant was photographed from outside
the window recording on her mobile phone:




       The live-stream videos were viewed via Facebook and subsequently posted to the
defendant’s account. St Cyr claims in subsequent videos this content led to the suspension of her
account for violating Facebook policy concerning the depiction of violence. Multiple tips
submitted through the FBI’s public access lines provided the captioned videos and photos that
appear to depict the defendant inside the Capitol building. Two examples of screen shots that
came from those tips are below:
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       Your affiant spoke to U.S. Capitol Police agents, who identified the room depicted in the
aforementioned videos as room ST2M, commonly known as the Senator’s Hideaway Office inside the
Capitol building.

        A live-stream video was uploaded to a Facebook in the name of the defendant’s husband,
on or about January 7, 2021, and subsequently provided to the FBI through public access tip lines.
Agents subsequently confirmed the defendant’s marital status, i.e., married to an individual whose
name matches the aforementioned Facebook account, through public records searches. The video
appears to depict the defendant and her husband. During the 38-minute video, the defendant
describes her activities on January 6th, including entering the Capitol building and “going live” on
social media with video that the defendant claims was later broadcast on major news outlets.

        Agents conducted a comparison of photos and video obtained through tips against known
photos of the defendant including the Idaho Department of Motor Vehicles (DMV), and previous
social media matching the likeness of the defendant. The photographs and videos described above
appear to match the defendant’s DMV photo and other known social media photographs of her.

        Agents from the FBI’s Washington Field Office conducted a telephonic interview with a
longtime associate and friend of the defendant. This individual confirmed that the person in the
aforementioned videos and photos is the defendant, Yvonne St Cyr, who resides in Idaho. This
longtime associate and friend further confirmed that the Facebook account where the videos were
posted, account name Yvonne Orbin St Cyr, to be the account used by the defendant. The
interviewee stated that he or she spoke with the defendant via Facebook messenger at this account
in 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that the
Yvonne St Cyr violated 18 U.S.C. § 1752(a)(1), which makes it a crime to knowingly enter or
remain in any restricted building or grounds without lawful authority to do so, and § 1752(a)(2),
which makes it a crime to, inter alia, knowingly and with the intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions.

       Based on the foregoing, your affiant submits that there is also probable cause to believe
that Yvonne St Cyr violated 40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or
group of individuals to willfully and knowingly (D) utter loud, threatening, or abusive language,
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